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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION




UNITED STATES OF AMERICA,                    )
               Plaintiff,                    )
                                             )
       vs.                                   )        Cause No. 1:06-cr-0008-LJM-DKL-11
                                             )
JAKE ESTES,                                  )
                     Defendant.              )



              ORDER ADOPTING REPORT AND RECOMMENDATION

       Having   reviewed    Magistrate       Judge      Denise   K.      LaRue=s   Report   and

Recommendation that Jake Estes= supervised release be revoked, pursuant to Title 18

U.S.C. '3401(i), Rule 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18

U.S.C. '3583, the Court now approves and adopts the Report and Recommendation

as the entry of the Court, and orders a sentence imposed of imprisonment of 6 months

in the custody of the Attorney General.          Upon Mr. Estes= release from confinement, he

will not be subject to supervised release.

       SO ORDERED this 04/16/2013




                                                   ________________________________
                                                   LARRY J. McKINNEY, JUDGE
                                                   United States District Court
                                                   Southern District of Indiana
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U. S. Parole and Probation

U. S. Marshal




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